Case 1:11-cv-22482-DLG Document 6 Entered on FLSD Docket 10/04/2011 Page 1 of 1


                       UN ITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                               MIAMI DIVISION
                  Case No. 11-22482-CIV-GRkHAM/GOODMAN

 BERNARD BREWER ,

        Plaintiff ,
                                                            CLO SED
 VS .
                                                             C B qL
 OMNI CREDIT SERVICES OF FLORIDA , INC .,
                                                             CA SE
        Defendant .
                                             /


        THIS CAUSE comes before the Court upon Plaintiff's Notice of

 Voluntary Dismissal With Prejudice (D.E.

        THE COURT has considered the Notice , the pertinent portions of

 the    record , and   is otherwise fully     advised   in the premises .

 A ccordingly , it is hereby

        ORDERED AND    ADJUDGED that this action        is DISMISSED WITH

 PREJUDICE .

        DONE AND ORDERED   inChambersatMiami,Florida,this t/ day
 of October, 2011 .




                                         DONALD L . GRAHAM V
                                         UNITED STATES DISTRICT JUDGE


 cc :   Counsel of Record
